                                                                   O^rtKjP^
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


 BELCALIS MARLENIS ALMANZAR,
                                                  CIVIL ACTION NO.
     Plaintiff,                                   l:19-cv-01301-WMR


                    V.

                                                           C;LED IN OPEN COURT
 LATASHA TRANSRINfA KEBE and                                   LLS.D.C.- Atlanta

 KEBE STUDIOS LLC,
                                                                 JAN 2 lt 2022.
     Defendants.                                            t<EVIN P. WEIMER, Clerk
                                                              By '• —5^^ Deputy Clerk




                                 JURY VERDICT


                                      Claims

We, the Jury, make the following findings regarding the Defendants' liability for the
Plaintiffs Defamation claim:

      As to Defendant Latasha Kebe:            \/ Liable                 Not Liable

      As to Defendant Kebe Studios LLC: \/ Liable                        Not Liable



We, the Jury, make the following findings regarding the Defendants' liability for the
Plaintiffs Invasion of Privacy - False Light claim:

      As to Defendant Latasha Kebe:            \/ Liable                Not Liable

      As to Defendant Kebe Studios LLC: \/ Liable                       Not Liable
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We, the Jury, make the following findings regarding the Defendants' liability for the
Plaintiffs Intentional Infliction of Emotional Distress claim:

      As to Defendant Latasha Kebe: V Liable Not Liable

      As to Defendant Kebe Studios LLC: \/ Liable Not Liable



                                      Damages


We, the Jury, find the Plaintiff ( \/ has / _ has not) proven, by a preponderance
of the evidence, that she is entitled to recover damages.



We, the Jury, therefore award the Plaintiff damages in the following amount(s):

      $ / c'c'c) .000 _ in general damages (pain and suffering and/or
                                 reputational injury)

      $ ^€TC>. o^n _ in medical expenses


      $ / 2.W/ 6U^O _ Total



We, the Jury, make the following findings regarding joint and several liability:

       y_ The Plaintiff has proven, by a preponderance of the evidence, that the
      Defendants are jointly and severally liable for the damages awarded, if any.

          The Plaintiff has not proven, by a preponderance of the evidence, that the
      Defendants are jointly and severally liable for the damages awarded, if any,
      so we assign the following percentage of fault to each Defendant for causing
      the Plaintiffs damages, if any (with the total percentages equal to 100
      percent):

             As to Defendant Latasha Kebe %

             As to Defendant Kebe Studios LLC %




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SO SAY WE ALL, signed and dated, this ^ day of January, 2022.



                                         TL^^L- & _ ri-<.
                                        Foreperso^t's Signature   y




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